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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT




   ALICE MELILLO AND
   ALLEN NORDEN,
        Plaintiffs,                                            No. 3:17-cv-520 (VAB)

           v.

   RYAN BRAIS,
        Defendant.



  RULING AND ORDER ON PLAINTIFFS’ MOTION FOR A PROTECTIVE ORDER

        Alice Melillo and Allen Norden (“Plaintiffs”) sued Ryan Brais (“Defendant”), alleging

that Defendant violated their Fourth Amendment right to privacy, and claiming harassment,

emotional and financial distress, and violations of their civil rights. Revised Compl. at 6, ECF

No. 1-1. The parties are in discovery, and on December 12, 2017, Plaintiffs moved for a

protective order under Rule 26(c) against certain interrogatories and subsequent requests for

production submitted by Defendant. ECF No. 52; see Fed. R. Civ. P. 26(c). The Court held a

telephonic status conference on January 5, 2018, and the parties have agreed to amend the scope

of discovery. As a result, Plaintiffs’ motion for a protective order is DENIED without prejudice

to re-filing and the parties are invited to revisit the issues with the Court, to the extent necessary.

   I.      FACTUAL AND PROCEDURAL BACKGROUND

        The pending discovery dispute relates mainly to the first and second set of interrogatories

served by Defendant. There were also issues with the third and fourth sets of interrogatories, but

Defendant has agreed to hold these matters in abeyance pending a resolution on the first and

second sets of interrogatories.
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         The relevant inquiries from the first set of interrogatories relate to the following

questions:

                #15: please identify all persons, whether related to you or not, who
                have resided in the residence located on the Subject Property, during
                the period from January 1, 2005, until you sold the Subject Property.
                #16: Please identify all persons, whether related to you or not, who
                have resided in the area you refer to in your Lawsuit as the “upstairs
                ‘bonus’ area of the detached garage” located on the subject property,
                during the period from January 1, 2005 until you sold the Subject
                Propety.
                #17: Please identify all persons, whether related to you or not, who
                have rented or leased the area you refer to in your lawsuit as the
                “upstairs ‘bonus’ areas of the detached garage” located on the
                Subject Property, during the period from January 1, 2005, until you
                sold the Property.
         The relevant inquiries from the second set of interrogatories relate to the following

questions:

                #4: Please identify any person or persons with whom you negotiated
                the sale of the property located at 280 Lathrop Road in Plainfield,
                Connecticut, whether such sale was ultimately consummated or not.
                #5: Please identify any realtor, real estate agent or real estate agency
                with whom you listed the Subject Property for sale during the period
                from January 1, 2013 until the Subject Property was sold.

   II.       STANDARD OF REVIEW

         Under Federal Rule of Civil Procedure 26(c)(1), “[a] person for whom discovery is

sought may move for a protective order in the court where the action is pending . . . . The court

may, for good cause, issue an order to protect a party or person from annoyance, embarrassment,

oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1). Where the discovery sought is

relevant, the party seeking protection bears the burden of showing that good cause exists to grant

the motion. Penthouse Int’l, Ltd. v. Playboy Enters., Inc., 663 F.2d 371, 391 (2d Cir. 1981)

(citations omitted); Gambale v. Deutsche Bank AG, 377 F.3d 133, 142 (2d Cir. 2004) (citation

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omitted). Under Rule 45(d)(3)(A), a court is required to quash or modify a subpoena if it

“requires disclosure of privileged or other protected matter and no exception or waiver applies.”

Fed. R. Civ. P. 45(d)(3)(A)(iii).

   III.      DISCUSSION

          As a preliminary matter, the Court notes that the parties have been advised to seek a

telephonic conference with the Court before the filing of discovery motions to avoid unnecessary

time and expense for the parties. See Judge Bolden’s Pretrial Preferences,

http://ctd.uscourts.gov/content/victor-bolden (“Motions to resolve discovery disputes cannot be

filed unless first discussed with Judge Bolden. Judge Bolden will attempt to resolve discovery

disputes by conference call whenever possible. . . .”); Dietz v. Bouldin, 136 S. Ct. 1885, 1888-89

(2016) (finding that a federal district court has an inherent power to manage its docket “with a

view toward the efficient and expedient resolution of cases[.]”).

          Nevertheless, recognizing that Plaintiffs are proceeding pro se, and in the interest of

moving this case as expeditiously as possible, the Court conducted a telephonic discovery

conference with the parties on January 5, 2018, at 1:30 p.m. During the discovery conference,

Defendant agreed to limit the time period for the challenged interrogatories from the first to the

time period between January 1, 2015, and Plaintiffs’ sale of their house. On the second set of

interrogatories, Plaintiffs were encouraged to answer these questions as completely as possible,

given that there appeared to be limited discoverable evidence. Finally, Defendant agreed to hold

in abeyance his request for discovery related to the disputed items in the third and fourth sets of

interrogatories, in light of the anticipated responses to the outstanding responses on the first set

of interrogatories, resolved during the discovery conference.




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       As a result, the motion for a protective order is denied, and the parties are advised that if

any issues arise in the future, either party may file a new motion for a discovery conference.

IV.    CONCLUSION

       For the foregoing reasons, Plaintiffs’ motion for a protective order is DENIED without

prejudice. An Order amending the discovery schedule will follow.

       SO ORDERED at Bridgeport, Connecticut, this 5th day of January, 2018.

                                                      /s/ Victor A. Bolden
                                                      VICTOR A. BOLDEN
                                                      UNITED STATES DISTRICT JUDGE




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